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IN THE UNITED STATES DISTRICT COURT

        
   
  

  
    

 

FOR THE NORTHERN DISTRICT OF OHIO “
EASTERN DIVISION “Sef fee
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UNITED STATES OF AMERICA, ) Case No. 5:20 CR 2973 sez
Plaintiff ) Judge Donald C.Nugent_ SE" Oe
) Sy ¢ i & | ot
Vv. ) Motion To Review Order IAL,
) Of Detention a 2...
MATTHEW P. SLATZER, ) So
) s SR
Defendant. ) 9

Now comes Defendant, Matthew P. Slatzer, by and through his undersigned counsel, and
moves this Court to review the Order causing him to be detained and grant him bond. The
reasons for this request are as follows:

1. Introduction

On February 20, 2020, Defendant was arrested at a bar in Canton, OH where he was
allegedly seen carrying a holstered pistol. The owner of the establishment confronted an
obviously intoxicated Defendant, told him he could not have the gun in the bar, took the gun
from him and called 911. The Canton Police arrived and arrested the un-armed Defendant
without incident. He did not resist arrest or physically assault the officers. On or about March 5,

2020, he was indicted on State charges’ for Illegal Possession of a Forearm in Liquor Permit

Premises, a 5" degree felony and violation of Ohio Revised Code § 2923.121 2

 

' State v. Slatzer, 2020CRB 0308 (Stark County Common Pleas Court). This case was

dismissed on June 23, 2020.
Due to work conflicts, Defendant’s bond was revoked on May 11, 2020 because he failed

to report for drug testing. He was being held in the Stark County Jail when he indicted in this
case.
